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   6 ROBERT MENA
   7                       UNITED STATES DISTRICT COURT
   8                      CENTRAL DISTRICT OF CALIFORNIA
   9
 10 ROBERT MENA,                                   Case No.: 8:24-cv-01293-FWS (JDEx)
 11                                                NOTICE OF SETTLEMENT OF
            Plaintiff,                             ENTIRE CASE
 12
 13         vs.
 14
    SUPERIOR 1635CM LLC; and DOES
 15 1 to 10,
 16
                   Defendants.
 17
 18         Notice is hereby given that Plaintiff ROBERT MENA ("Plaintiff") and
 19 Defendants have settled the above-captioned matter as to the entire case. Parties
 20 request that the Court grant thirty (30) days from the date of this filing for Plaintiff
 21 to file dispositional documents in order to afford Parties time to complete settlement.
 22
       DATED: August 2, 2024                       SO. CAL EQUAL ACCESS GROUP
 23
 24                                                      /s/ Jason J. Kim
                                                   JASON J. KIM
 25                                                Attorney for Plaintiff
 26
 27
 28

                                                          NOTICE OF SETTLEMENT OF ENTIRE CASE
